                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Zhejiang Sairen Trading Co., Ltd,
                     Plaintiff,                  Case No. 22 cv 2046

       v.                                        District Judge Thomas M. Durkin

Individuals, Partnerships, and                   Magistrate Judge Sheila M. Finnegan
Unincorporated Associations on Schedule
“A”,

                      Defendants.



                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Zhejiang Sairen

Trading Co., Ltd (“Plaintiff”) hereby dismisses this action with prejudice as to the following

Defendants:

              Defendant Name                                        Line No.

                Gukasxi Store                                          26

     Pembroke Street International, LLC                                84

                   Jezzluky                                            76

                                                                       48
                 szlzhsm
                Yingyizhi-US                                           37



DATED AUGUST 6, 2022                                 Respectfully submitted,

                                                     /s/ James A. Karamanis
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ATTORNEY FOR PLAINTIFFS
